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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA


In re:                                                                  Bankr. Case No. 19-01085-JAF-7
THOMAS GRANT                                                                                    Chapter 7
         Debtor(s)

                                        REQUEST FOR NOTICE



    Pursuant to Rule 2002(g), Americredit Financial Services, Inc. dba GM Financial hereby requests that
all notices, pleadings and other documents in this case be served upon it at the following address:

                                 Americredit Financial Services, Inc. dba GM Financial
                                 PO Box 183853
                                 Arlington, TX 76096




                                                    /s/ Mandy Youngblood
                                                 By__________________________________

                                                      Mandy Youngblood
                                                      PO Box 183853
                                                      Arlington, TX 76096
                                                      877-203-5538
                                                      877-259-6417
                                                      Customer.service.bk@gmfinancial.com
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                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA


In re:                                                                    Bankr. Case No. 19-01085-JAF-7
THOMAS GRANT                                                                                         Chapter 7
         Debtor(s)


Certificate of Service
This Request for Notice was served electronically on the following individuals on April 19, 2019 :

         Bryan K. Mickler                                    Robert Altman
         5452 Arlington Expressway                           PO Box 922
         Jacksonville, FL 32211                              Palatka, FL 32178-0922



                                                            /s/ Mandy Youngblood
                                                         By___________________________________
                                                             Mandy Youngblood
 xxxxx00678 / 985294
